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                                        UNITED STATES DISTRICT COURT
                                        NORTHERN DISTRICT OF ILLINOIS
                                         219 SOUTH DEARBORN STREET
                                            CHICAGO ILLINOIS 60604
                                                 August 1, 2016


THOMAS G. BRUTON                                                         OFFICE OF THE CLERK
   Clerk of Court

CLERK OF THE COURT
Sandra Day O'Connor
United States Courthouse
401 West Washington Street,
Room 130
Phoenix, AZ 85003


Re: USA vs. George Swinfen Cottrell
Our Case number: 16 cr 466-1
Your Case number: CR-160879-PHX


Dear Clerk of Court:
Enclosed please find the certified copy of the docket entries in connection with removal proceedings
conducted in this District regarding the above named defendant.

As of January 18, 2005 for civil and criminal cases, our court uses electronic case filing. You may
access our electronic case file and print copies of electronically filed documents by following the
procedures on the attached Instruction Sheet. You will need Adobe Acrobat reader loaded on your
computer in order to view the documents. If you are an electronic court, you may upload the
documents. Please DO NOT MAKE THE ENCLOSED INSTRUCTION SHEET A PART OF
THE OFFICIAL RECORD as it contains your login and password to our system. This login and
password should not be shared with anyone other than federal court personnel who would have a need
to access our electronic case file system.

All documents filed prior to electronic filing are included in this transfer package.
Subsequent paper documents filed after 1/18/05 are also included:
Please acknowledge receipt of the above documents on the enclosed copy of this letter.

                                                        Sincerely yours,
                                                        Thomas G. Bruton, Clerk
                                                        by: Yvette Pearson
                                                        Deputy Clerk
